                  UNITED STATES BANKRUPTCY COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Frank Szczepanski
                                                            Case No.: 1-18-00829HWV

                                                            Chapter 13
                      Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition default in the claim below has been paid in full and the debtor(s) have
completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  PennyMac
 Court Claim Number:             7
 Last Four of Loan Number:       6467
 Property Address if applicable: 7082 Church Rd

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                     $534.41
 b.      Prepetition arrearages paid by the trustee:                         $534.41
 c.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and paid
         by the trustee:
 e.      Allowed postpetition arrearage:                                     $0.00
 f.      Postpetition arrearage paid by the trustee:                         $0.00
 g.      Total b, d, and f:                                                  $534.41

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: April 27, 2023
                                                       Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


   Re:        Frank Szczepanski
                                                             Case No.: 1-18-00829HWV

                                                             Chapter 13

                                 CERTIFICATE OF SERVICE


I certify that I am more than 18 years of age and that on April 27, 2023 I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown, PA,
unless served electronically.

  Served Electronically
  Michael Caum, Esquire
  PO Box 272
  Shrewsbury PA 17361


  Served by First Class Mail
  PennyMac Loan Servicing, Inc
  6101 Condor Dr
  Suite 200
  Moorpark CA 93021

  Frank Szczepanski
  7082 Church Rd
  Felton PA 17322

  I certify under penalty of perjury that the foregoing is true and correct.



  Date: April 27, 2023                                  /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                              Disbursements for Claim
Case: 18-00829          FRANK S SZCZEPANSKI, JR.
         PENNYMAC LOAN SERVICES, LLC
                                                                                    Sequence: 24
                                                                                       Modify:
         P.O. BOX 660929
                                                                                   Filed Date: 8/7/2018 12:00:00AM
         DALLAS, TX 75266-0929
                                                                                   Hold Code:
 Acct No: 6467/PRE ARREARS/7082 CHURCH RD



                                                Debt:             $534.41       Interest Paid:              $0.00
        Amt Sched:              $174,853.76                                       Accrued Int:               $0.00
         Amt Due:       $0.00                    Paid:            $534.41        Balance Due:                $0.00

Claim name                             Type      Date           Check #      Principal    Interest       Total Reconciled
                                                                                               DisbDescrp
 5200        PENNYMAC LOAN SERVICES, LLC
520-0 PENNYMAC LOAN SERVICES, LLC              11/03/2020        1223541       $17.66       $0.00      $17.66 11/27/2020


520-0 PENNYMAC LOAN SERVICES, LLC              10/15/2020       1222733       $121.50       $0.00     $121.50 10/27/2020


520-0 PENNYMAC LOAN SERVICES, LLC              09/17/2020       1221737       $121.50       $0.00     $121.50 09/30/2020


520-0 PENNYMAC LOAN SERVICES, LLC              08/12/2020       1220677       $121.50       $0.00     $121.50 09/01/2020


520-0 PENNYMAC LOAN SERVICES, LLC              07/07/2020        1219631      $121.50       $0.00     $121.50 07/27/2020


520-0 PENNYMAC LOAN SERVICES, LLC              06/02/2020       1218604        $30.75       $0.00      $30.75 06/12/2020


                                                             Sub-totals:      $534.41       $0.00    $534.41

                                                            Grand Total:     $534.41        $0.00




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